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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,

             v.                                    CRIMINAL NO. 3:19-30024-MGM-1

LILY WHEELER,
                      Defendant.


                              PROCEDURAL ORDER
                  RE: SENTENCING HEARING (in light of U.S. v. Booker)


MASTROIANNI, D.J.


       A plea of guilty or nolo contendere, or a verdict of guilty, having been entered on
08/07/2019, under the Sentencing Reform Act of 1984, it is hereby ORDERED:

Pre-sentence Investigation

      1. a) The United States Probation Office shall commence immediately the pre-sentence
         investigation unless as provided in Fed. R. Crim. Pro. Rule 32(i), the court finds
         under Rule 32(c)(1)(A) and (B) that the information in the record enables it to
         exercise its sentencing authority meaningfully under 18 U.S.C. § 3553 and the court
         explains this finding on the record.
          b) The Probation Office shall prepare pre-sentence investigation reports in the order
          in which the requests from the court are received.


Statement of Relevant Facts

      2. Not later than seven days after the plea or verdict [or on 08/14/2019], the attorney for
         the government shall provide to the United States Probation Office a statement of
         relevant facts and any other documents pertinent under Federal Rules of Criminal
         Procedure 32(d) and shall simultaneously serve on counsel for the defendant a copy of
         everything provided to the Probation Office.
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Submission of Information Regarding Identifiable Victims (if applicable)


       3. Not later than seven days after the plea or verdict [or on 08/14/2019] , the attorney
          for the government shall provide to the United States Probation Office a written
          statement setting forth the names of the victims, their contact information/addresses,
          and the amount of loss sustained by each victim/restitution owed to each victim
          pursuant to the Federal Rules of Criminal Procedure, Rule 32(c)(1)(B).


Interview of Defendant


       4. The Probation Office shall provide a reasonable opportunity for defense counsel to
          attend any interview of the defendant conducted by a probation officer during the pre-
          sentence investigation.

          a) If the case is resolved by a plea, and the Probation Office has timely notification
          of the plea, it shall hold an interview with the defendant on the day of the plea. If an
          interview cannot be held on the day of the plea, the Probation Office shall schedule an
          interview to be held within seven days after the plea or within such additional time as
          the court may order.

          b) If the case is resolved by a verdict, the Probation Office shall schedule an
          interview with the defendant to be held within seven days after the verdict or within
          such additional period of time as the court may order.

          c) If the defendant is in custody, the United States Marshal shall, at the request of
          the Probation Office, bring the defendant to the courthouse for an interview at the
          earliest feasible time.

Pretrial Services Responsibility

       5. Pretrial Services shall provide to the Probation Office all documents in the possession
          of Pretrial Services that may be relevant to the pre-sentence investigation, including a
          copy of the Pretrial Report, the defendant’s state, local, and national criminal record,
          police reports, copies of convictions, drug test results, reports of incidents, and other
          reports and supporting documents.

Date of Sentencing

       6. The sentencing hearing (and sentencing) is scheduled to occur at 2:00 p.m. on November
          7th, 2019 in Franklin Courtroom, on the 3rd floor. This date is to be not sooner
          than twelve weeks after the date of the plea/verdict, in order to permit the following:
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          a) Probation Office shall have seven weeks after the date of plea/verdict for the
          preparation and disclosure of the initial report.

          b) Probation Office shall disclose the initial report to defense counsel and
          government counsel no less than five weeks before the sentencing hearing, unless the
          defendant expressly waives the minimum five week pre-sentencing notification
          period.

          c) The date when disclosure has been effected to each attorney is the date of the
          mailing of a copy to that attorney. An attorney may, in lieu of receiving disclosure by
          mail, make arrangements with the Probation Office to pick up the report no later than
          3:00 p.m. on the date disclosure is due. It is the responsibility of the defense counsel
          to disclose the pre-sentence report to the defendant and to discuss it with and explain
          it to the defendant.


Objections Procedure


      7. Within fourteen days after disclosure of the report, attorneys for the government and
         the defendant shall advise the probation officer and each other in writing, of any
         objections they may have as to any material information, sentencing classifications,
         sentencing guideline ranges, or policy statements contained in or omitted from the
         report.


      8. The probation officer shall conduct any further investigation and make any revisions
         to the pre-sentence report that may be necessary. The probation officer may require
         counsel for both parties to confer with the probation officer to identify and attempt to
         resolve any factual or legal disputes which may require hearing by the court.


Final Pre-sentence Report


      9. Not later than 11/01/2019 (which is a date not less than seven days before the
         sentencing hearing), the probation officer shall submit to the court and disclose to the
         attorneys the final pre-sentence report, including any addendum, setting forth the
         unresolved objections, the grounds for these objections and the probation officer’s
         comments on the objections. The probation officer shall certify that the contents of
         the report, including any revisions, and the addendum have been disclosed to the
         defendant and to counsel for the defendant and the government, and that the
         addendum fairly states any remaining unresolved objections. Except with regard to
         any unresolved objections, the report of the pre-sentence investigation may be
         accepted by the court as accurate. The court, however, for good cause shown, may
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          allow a new objection to the pre-sentence report to be raised at any time before the
          imposition of sentence.


Hearing and Counsel’s obligations


      10. The Court is to hold a sentencing hearing to resolve any disputed issues.


          a) Obligations of Counsel: Not later than 11/01/2019 (which is a date not less
          than five days before the sentencing hearing)

                 (1)     Notice:    Counsel are to advise the Court:

                         (a)    whether either party will move for a departure from the
                                applicable guideline range or will move for a non-guideline
                                sentence;

                         (b)    whether apart from (a), there are legal questions not adequately
                                addressed in the presentence report or not addressed at all;

                         (c)    whether there are factual issues which the party contend
                                require an evidentiary hearing.


                 (2)     Memorandum: Counsel submit a memorandum outlining the legal
                         and factual issues implicated in (1) above. Counsel are also urged to
                         draft memoranda in the form of proposed findings of fact and
                         conclusions of law relevant to the issues described above.


                 (3)     Service on Probation: A copy of the memorandum and any
                         submissions addressing sentencing issues submitted by counsel must
                         also be provided to the probation officer five days in advance of the
                         sentencing hearing.


      11. The schedule set forth in this Order may be modified by the Court for good cause
          shown.


      12. Disclosure of the pre-sentence report is made under the provisions of Rule 32, Fed.
          R. Crim. Pro., except that the Probation Office shall not disclose any
          recommendation it made to the court as to sentence. Any such recommendation
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             made to the court by the Probation Office must not contain factual information not
             already disclosed to both counsel and to the defendant.



08/13/2019                                /s/ Mark G. Mastroianni__________
DATE                                      UNITED STATES DISTRICT JUDGE



cc:   Counsel
      Probation Office
      Pretrial Services
